  Case 2:10-md-02179-CJB-DPC Document 11833-8 Filed 11/12/13 Page 1 of 1




Matching      • Exh 8C (Addendum re Compensation Related to Claimant’s Loss of Employment
              Related Benefits Income) – Page 4: “Claimant seeking compensation for
              Retirement Benefit Losses must provide . . . documentation evidencing Pre-Spill
              Retirement Benefits could include, for example, a paystub including matching
              contributions . . . “

              • Exh 8C – Pg 5: “ . . . documents evidencing a change in the terms by which the
              Pre‐Spill Benefit‐Providing Employer provided the Pre‐Spill Retirement Benefits
              (e.g., such as an elimination of employer matching) . . .”

              • Exh 8E (Addendum re Interviews of Claimants Alleging Individual Economic Loss
              and Other Individuals Providing Sworn Statements in Support of Such Claim) – Pg
              1: “The Claims Administrator shall use their best efforts to recruit and train a
              claims staff that is of diverse races, ethnicities, and genders matching the
              communities served by the Claims Facility . . . “

Match         • 3 instances above (“matching”)

              • Exh 19 ( Industry Types Subject to Review by Claims Administrator for Potential
              Moratoria Losses) – Pg 5: “Matches and match books manufacturing”
